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: ORIGINAL

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

Case No. 01-01139
(Jointly Administered)

W.R. Grace & Co., et al.,

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Debtors.

MEMORANDUM IN SUPPORT OF MOTION FOR RELIEF

FROM THE AUTOMATIC STAY OF PAUL PRICE, INDIVIDUALLY

2 AND AS PROPOSED CLASS REPRESENTATIVE IN IN RE: ZONOLITE ATTIC
INSULATION PRODUCTS LIABILITY LITIGATION, MDL 1376

L Introduction
L. Movant, Paul Price, individually and as proposed class representative in In re:

Zonolite Attic Insulation Products Liability Litigation, Multidistrict Litigation (“MDL”) 1376,

hereby moves on behalf of the proposed class (“ZAI Plaintiffs” or “Plaintiffs”) that this Court
grant relief from the automatic stay so that the MDL court can decide the issue of class
certification and so that discovery may continue, pursuant to the MDL Case Management Order,
under the supervision of the MDL court. This Court should grant Price’s motion for relief from
stay: (1) to permit a decision on class certification because resolution of nationwide Zovolite
Attic Insulation litigation class certification was relegated to the MDL Court by the Multi-
District Litigation Panel and (2) because resolution of the class certification issue by another

court can and would aid this Court in the conduct of this bankruptcy case. Class certification Is a

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discreet function that is appropriate for the MDL court. All prerequisites to a grant of relief of
stay are met in this case, and a decision on the class certification issue by the MDL court serves
the interests of judicial economy.

2. This Court should grant also Price’s motion for relief from stay to permit
continued discovery in the Zonolite litigation because Debtor will not suffer any prejudice in that
it chose the MDL as the forum for pretrial issues and in that extensive discovery has already
occurred in the MDL pursuant to a Case Management Order vigorously negotiated and agreed
upon by the Debtor and because other Creditors will not suffer any prejudice in that Plaintiffs
having Zonolite Attic Insulation claims will share any non-privileged discovery. Furthermore,
the balance of hardships favors the ZAI Plaintiffs in that they are unable to ascertain the full
extent of Debtor’s culpability or to adequately warn at-risk homeowners absent continued |
discovery. District Judge Saris framed a comprehensive Case Management Order to address, in
part, the discovery issues of the Zonolite litigation, and continued discovery can facilitate prompt
resolution of the Zonolite litigation outside of this bankruptcy case. Finally, there is a high
probability that discovery will be successfully completed if relief from stay is granted and.
judicial economy is served by permitting discovery to continue.

Il. Statement of Facts and Prior Proceedings
3. Plaintiffs with Zonolite Attic Insulation (“ZAT’) in their homes filed four federal,

class action, property damage lawsuits” on behalf of themselves and other homeowners, seeking

“Those federal class actions are Hunter v. W.R. Grace & Co. et al., C.A. No. 3:00-569 in
the Southern District of Illinois; Lindholm v. W.R. Grace & Co. et al., C.A. No. 1:00-10323 in

the District of Massachusetts; Goldstein et al. v. W.R. Grace & Co. et al., C.A. No. 1:00-10873

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both to notify other homeowners of the presence of ZAI in their homes and the attendant health-
related risks posed by ZAI and to obtain injunctive relief and an award of sufficient monetary
damages to compensate these homeowners for the removal of the dangerous ZAI from their
residences.” Although Zonolite Attic Insulation was manufactured and distributed by W.R.
Grace & Company, W.R. Grace & Company-Conn. and other W.R. Grace affiliates and
subsidiaries (collectively “W.R. Grace”), some of the federal cases consolidated into MDL 1376,
as well as other separately-filed state and federal lawsuits, also name as defendants other
corporations that have engaged in fraudulent conveyance transactions with W.R. Grace designed
to acquire and shield W.R. Grace assets from any potential judgments.

4. After W.R. Grace moved under 28 U.S.C. §1407 for transfer of all federal cases to
the District of Massachusetts, all of the parties to every federal case ultimately consolidated into
MDL 1376 agreed to the transfer of the cases for pretrial purposes into an MDL proceeding. See

In re: Zonolite Attic Insulation Products Liability Litigation, Transfer Order, MDL Docket No.

1376, filed December 7, 2000 (hereinafter “MDL Transfer Order’”)(attached to the Affidavit of
Thomas M. Sobol as Exhibit 1 thereto). The issue was heavily briefed by both sides before the
Judicial Panel on Multidistrict Litigation.” The MDL Transfer Order makes clear that not only

did all parties agree to consolidation, but all Defendants and Plaintiffs in two of the four cases

in the District of Massachusetts; Price et al. v. W.R. Grace & Co. et al., C.A. No. 9:00-71 in the
District of Montana. See Sobol Aff. {2.

“/State class actions have also been filed, including Barbanti v. W.R. Grace & Co.-Conn.
et al., No. 00-2-01756-6 in the Superior Court in the State of Washington. See Sobol Aff. {2.

3/ WRGrace4/brief rs
“See Sobol Aff. {{[4-5 and documents attached thereto as Exhibit 2.
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advocated for transfer specifically to the District of Massachusetts. Id.

5. Once the cases were consolidated in MDL 1376, the parties negotiated and-
ultimately reached substantial agreement on a proposed management order. Competing
provisions were presented to District Judge Saris, who then issued a thorough and detailed
Pretrial Case Management Order coordinating the conduct of pretrial activities before the MDL
court (“Case Management Order”).” The MDL court has been fully briefed on the issue of class
certification.” Furthermore, under the Case Management Order, the MDL court was to conduct a
hearing with respect to the issue of class certification on April 25, 2001, less than one month
after the filing of this bankruptcy case. However, W.R. Grace filed this bankruptcy petition on
April 2, 2001, just three weeks before that date; clearly, W.R. Grace filed this petition so a to
deny the MDL Court the opportunity to decide the class certification issue. Moreover, under the
MDL court’s supervision, the parties have engaged in rapid and efficient discovery in the case
since consolidation in MDL 1376.” That discovery is scheduled to be completed within nine
months, with the close of fact discovery occurring on October 31, 2001 and close of expert
discovery occurring on January 5, 2002.

Ill. Argument

A. The Standard for Relief from Stay

“See In re: Zonolite Attic Insulation, Pretrial Case Management Order, MDL Docket No.
1376, filed February 9, 2001 (hereinafter “MDL Case Management Order”)(attached to the
Affidavit of Thomas M. Sobol as Exhibit 3 thereto).

See Sobol Aff. {47-8 and documents attached thereto as Exhibit 4.

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~See Sobol Aff. {[9-10 and documents attached thereto as Exhibit 5.
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6. Under 11 U.S.C. §362(a)(1), the automatic stay in bankruptcy extends to “the..
continuation...of a judicial...action or proceeding against the debtor that was...commenced before
the commencement of the case under this title... .”. Relief from the automatic stay can be sought
under §362(d), which provides as follows:

On request of a party in interest and after notice and a hearing, the court shall grant relief

from the stay provided under subsection (a) of this section, such as by terminating,

annulling, modifying, or conditioning such stay (1) for cause, including the lack of
adequate protection of an interest in property of such party in interest;
The determination of cause is therefore the critical inquiry and one which, due to its inherent

breadth and flexibility, this Court must decide in its discretion as a matter of equity. See e.g. In

re: Matter of Bell, 215 B.R. 266, 275 (N.D. Ga. 1997); In re: Wang Laboratories, Inc., 1996 WL

87050, *5 (D. Mass. 1996).

7. Numerous courts have articulated factors to be considered in determining whether
sufficient cause exists to modify or terminate an automatic stay. For example, as this court has
noted:

There is no rigid test for determining whether sufficient cause exists to modify an
automatic stay. Rather, in resolving motions for relief for “cause” from the automatic
stay courts generally consider the policies underlying the automatic stay in addition to the
competing interests of the debtor and the movant. In balancing the competing interests of
the debtor and the movant, Courts consider three factors: (1) the prejudice that would be
suffered should the stay be lifted; (2) the balance of hardships facing the parties; and (3)
the probable success of the merits if the stay is lifted.

In re: Continental Airlines, Inc., 152 B.R. 420, 424 (D. Del. 1993). See also In re: Sonnax

Industries, 907 F.2d 1280, 1286 (2d. Cir. 1990)(relevant factors include, inter alia, whether the

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relief sought would permit partial or complete resolution of the issues in the other litigation, the
lack of connection to the bankruptcy case, prejudice to other creditors, judicial economy, and the

balance of the harms); In re: Tricare Rehabilitation Systems, Inc., 181 B.R. 569, 572 n.7 (N.D.

Ala. 1994)(relevant factors include trial readiness, judicial economy, resolution of preliminary
bankruptcy issues, defense costs and burden to the estate, chance of success on the merits, and
the presence of third parties over which the bankruptcy court lacks jurisdiction); In re: Curtis, 40
B.R. 795, 799-800 (D. Utah 1984); In re: Johnson, 115 B.R. 634, 636 (D. Minn. 1989).

8. The relief from stay analysis places a shifting burden on the parties. Courts have
interpreted that burden such that the party requesting relief from stay must first make an initial

showing of cause, in accordance with §362(d)(1). See Sonnax Industries, 907 F.2d at 1285.

Once that showing is made, §362(d) must be read with §362(g) such that the burden of proof

shifts to the debtor on all other issues except the issue of “the debtor’s equity in the property.’

Id.; Continental Airlines, 152 B.R. at 424.

B. Relief from Stay Should Be Granted So That MDL 1376 Can Decide the
Issue of Class Certification

9, Relief from the automatic stay is warranted to permit a decision on the issue of
class certification because such a decision is essential to permitting Plaintiffs in the Zonolite
Attic Insulation to participate adequately, as a class, in this bankruptcy case. In addition, the
decision on that issue is vital to the Zonolite litigation, class certification is a discreet issue that
may be preserved for the MDL court, all prerequisites to a grant of relief of stay are met in this

case, and a decision on the class certification issue by the MDL court serves the interests of

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judicial economy.

10. First, a decision on the class certification issue is vital to the Zonolite litigation
and the conduct of this bankruptcy case. The issue of class certification is a core issue of the
Zonolite Attic Insulation litigation. “The decision on whether or not to certify a class...can be as
important as decisions on the merits of the action... .” See David F. Herr, ANNOTATED MANUAL
FOR COMPLEX LITIGATION, §30.1 (3d ed. 2000). The Federal Rules of Civil Procedure
affirmatively direct courts to determine the issue of class certification “as soon as practicable.”
Id. citing FED, R. Civ. P. 23(c)(1). A decision on the issue of class certification will also aid in
the conduct of this bankruptcy case. On the one hand, if a nationwide class is certified, this
Court can address the Zonolite claimants as Creditors through an identified class representative
(thereby promoting judicial efficiency). Alternatively, if nationwide class certification is denied,
this Court can know that there is no potentially-certifiable class in existence and may instead
treat non-Barbanti” Zonolite Plaintiffs as simply a collection of individual claimants. There are
significant procedural issues implicated by this decision, specifically including the nature, scope,
method, and timing of any notices to be sent to all Creditors.

11. Second, the class certification issue is a discreet issue that may be preserved for
the MDL court. As this court has noted, responding to a very discreet motion in another forum
“will cause at most a minimal diversion of the attention of parties critical to the ongoing

bankruptcy proceeding.” See Continental Airlines, Inc., 152 B.R. at 424. In this case, a grant of

“The Debtor’ s equity in the property is not relevant.

8/ WRGraced4/brief . . .
~ A class has already been certified for Washington State in the Barbanti case.

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relief from stay to permit the MDL court to decide the issue of class certification would permit,
in a fast and efficient manner, complete resolution of a core issue in the ZAI litigation that is

unconnected to the core issues in this bankruptcy proceeding. See In re: Sonnax Industries, 907

F.2d at 1286.

12. In In re Continental Airlines, Inc., the creditor, American Airlines, Inc., sought

relief from the automatic stay in order to file a motion in California state court seeking to enforce
a pre-petition settlement agreement between American and the debtor. Adopting the three-prong

test set forth in International Business Machines v. Fernstrom Storage & Van Co., 938 F.2d 731,

734-37 (7"" Cir. 1991), the court first determined that the debtor would not be prejudiced by the
lifting of the stay because the debtor’s response to the motion would “cause the parties at most a
minimal diversion of attention... [from] the ongoing bankruptcy...[and] would involve, at most,
the filing of a motion with briefs and perhaps oral argument.” 152 B.R. at 425-26. In balancing
the debtor’s anticipated increased litigation costs to oppose the motion against the important
rights American Airlines sought to preserve, the court found “that the balance of hardships
weigh[ed] in favor of American.” Id. at 425. Having considered the terms of the settlement
agreement, the court determined that American had sufficiently demonstrated at least a “slight
probability” of success on the merits. Thus finding the three-prong test satisfied, the Continental
Airlines court concluded that sufficient “cause” existed to modify the automatic stay.

13. Third, all prerequisites for granting relief from stay are similarly satisfied in this

case, and the ZAI Plaintiffs have met their burden by making an initial showing of cause. See

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§362(d)(1); Sonnax Industries, 907 F.2d at 1285. As previously noted, the parties have

conducted extensive discovery on the class certification issue and have already thoroughly
briefed the issue before Judge Saris in MDL 1376. A hearing on the issue by the MDL court was
scheduled to occur on April 25, 2001, less than one month after the date of filing of this
bankruptcy case. By filing this bankruptcy petition on April 2, 2001, W.R. Grace clearly
intended to deny the MDL Court the opportunity to decide the class certification issue. The
Debtor shall suffer no prejudice should the stay be lifted or modified to permit the MDL court to
proceed with a class certification decision where all fact and expert discovery relative to class
certification has been completed and where the issue has already been extensively briefed in that
forum. Id. at 424. The balance of hardships dramatically favors the ZAI Plaintiffs insofar as
their unclear class status hampers representation of their interests in this bankruptcy case and
perpetuates a situation in which at-risk homeowners who have not been noticed as to the
presence of dangerous materials in their residences may effectively be denied an opportunity to

have their claims presented to this Court for final adjudication. See e.g. Bock Laundry Machine

Co., 37 B.R. 564, 566 (N.D. Ohio 1984). Furthermore, given the certification of a class in the
Barbanti state litigation, the ZAI Plaintiffs have substantially more than the “slight possibility of
success on the merits” that would support granting relief from stay. See e.g. Continental

Airlines, 152 B.R. at 426 citing Izzarelli v. Rexene Products Co. (In re: Rexene Products Co.),

141 B.R. 574, 578 (D. Del. 1992); see also In re: South Oakes Furniture, Inc., 167 B.R. 307, 310

(M.D. Ga. 1994).

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14. Fourth, judicial economy strongly favors a grant of relief from stay to permit the
MDL court to decide the issue of class certification on the voluminous briefing that it has already

received. See In re: Sonnax Industries, 907 F.2d at 1286; In re: Tricare Rehabilitation Systems,

Inc., 181 B.R. at 572 n.7. The MDL court is familiar with both sides to the argument on class
certification and has been briefed on the issue by all parties over the course of two months before
the filing of this bankruptcy case. By the terms of the Case Management Order, the MDL court
was only three weeks away from a hearing on the issue. To revisit the class certification issue
anew in the context of this bankruptcy case would be to effectively disregard the accumulated
knowledge of Judge Saris in the MDL court over months of briefing on the issue. Judicial
economy warrants relief from stay to permit the MDL court to resolve the issue of class
certification once and for all.

Cc. Relief from Stay Should Also Be Granted, or the Automatic Stay Modified,
So That Discovery May Proceed in MDL 1376

15. Relief from the automatic stay is warranted as well to permit discovery to proceed
in the Zonolite litigation under the supervision of the MDL court. First, Debtor will not suffer
any prejudice if discovery recommences in the MDL because it chose that forum by advocating
for pretrial consolidation in the District of Massachusetts and extensive discovery has occurred in
the MDL pursuant to a Case Management Order vigorously negotiated and agreed upon by the
Debtor. If the discovery does not proceed pursuant to the Case Management in the MDL court, it

will then have to be addressed by this Court and it will proceed here. Similarly, other Creditors
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will not suffer any prejudice because the ZAI Plaintiffs will share with other creditors any non-
privileged materials obtained in discovery and relevant to this bankruptcy case. Second, the
balance of hardships leans toward the ZAI Plaintiffs because the ZAI Plaintiffs are unable to
ascertain the full extent of Debtor’s culpability or to adequately warn at-risk homeowners absent
continued discovery, because Judge Saris is well-versed in the discovery issues of the Zonolite
litigation and because continued discovery can facilitate prompt resolution of the Zonolite
litigation outside of this bankruptcy case. Third, there is a high probability that discovery will be
successfully completed if relief from stay is granted and judicial economy is served by permitting
discovery to continue.
1, Neither the Debtor nor any Creditors in this bankruptcy case
will suffer any prejudice if discovery recommences in the MDL court
a. All ZAI litigation Defendants, including W.R. Grace advocated
for consolidation for pretrial purposes in the District of |
Massachusetts
16. Relief from stay should be granted so that discovery pertinent to the ZAI litigation

can proceed under the direction and oversight of the court in MDL 1376. Granting such relief

will simply permit pretrial discovery in the ZAI litigation to continue in W.R. Grace’s forum of

choice. As courts have stated,

It will often be more appropriate to permit proceedings to continue in their place of
origin, when no great prejudice to the bankruptcy estate would result in order to leave the
parties in their chosen forum and to relieve the bankruptcy court from many duties that
may be handled elsewhere.

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In re: Pro Football Weekly, Inc., 60 B.R. 824, 826 (N.D. Ill. 1986) (emphasis added). In fact, all
Defendants in the ZAI litigation had advocated for consolidation for pretrial purposes specifically
in the District Court for the District of Massachusetts. See MDL Transfer Order.

Te In the ZAI litigation, all Defendants, including W.R. Grace, argued that
consolidation in the MDL for pretrial purposes “would conserve the resources of the parties,
counsel, and the judiciary.” See W.R. Grace Brief in Support of Motion to Transfer to the
District of Massachusetts for Coordinated Pretrial Proceedings Pursuant to 28 U.S.C. $1407, at 5
(hereinafter “Grace Transfer Motion Brief”); Joinder of Sealed Air Corporation in Motion to
Transfer to the District of Massachusetts for Coordinated Pretrial Proceedings Pursuant to 28
U.S.C. $1407 (hereinafter “Sealed Air Joinder”).” According to Defendants, “the complexity of
the Zonolite Attic Insulation cases warrant MDL treatment even though there are not a large
number of cases at this time” because all of the federal ZAI cases were filed on behalf of
overlapping nationwide classes of property owners from all fifty states, all had a greater potential
for settlement if consolidated, all asserted complex causes of action, and all requested saigue and
complex forms of relief. See W.R. Grace Motion to Transfer to the District of Massachusetts for
Coordinated Pretrial Proceedings Pursuant to 28 U.S.C. §1407 (hereinafter “Grace Transfer
Motion”), at 5-6, qg10-17./ Furthermore, the Defendants noted that the ZAI cases “allege
numerous common questions of fact, which warrant coordinated pretrial proceedings before a

single district court judge” and “recite a common factual background including...common factual

“Both documents are attached to the Affidavit of Thomas M. Sobol in Exhibit 2

10/. ‘ WRGrace4/brief : ..
10-This document attached to Affidavit of Thomas M. Sobol in Exhibit 2
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allegations contained in each of the complaints.” See id. at 3, {]8-9.

18. From a practical perspective, the ZAI litigation Defendants have urged
consolidation for discovery purposes in the MDL out of sheer convenience. In fact, in terms of
convenience to both parties and witnesses, Defendants have stated that “the overwhelming
majority of factors favor the District of Massachusetts as the transferee district.” See Grace
Transfer Motion Brief at 10. The filing of this bankruptcy case has not in any way impacted the
convenience to all parties of conducting discovery under MDL supervision in Massachusetts. As
the Defendants have noted,

Cambridge, Massachusetts is the headquarters of the Grace Conn. Construction

Products Division. Accordingly, many witnesses and approximately 950 boxes of

original documents relating to the manufacture and sale of vermiculite products,

including attic insulation, are located in Cambridge, Massachusetts. ...

In addition to the 950 boxes of documents located in Cambridge, Massachusetts, 400

boxes of original documents relating to the manufacture and sale of commercial asbestos-

containing products are stored in a repository at Winthrop Square in Boston. An
additional 54 boxes of documents that were formerly stored in Libby, Montana containing
personnel records and documents regarding the operation of the Libby, Montana mine and

mill are housed at Winthrop Square.

See Grace Transfer Motion at 6-7, 20-22. It simply makes the most sense from a logistical
standpoint to continue review of documents located in Boston and Cambridge under the
supervision of the MDL court that sits in Boston.
b. Discovery has proceeded in the MDL in accordance with a
Case Management Order negotiated and agreed upon by W.R.

Grace and in an orderly fashion, with cooperation among
plaintiffs’ counsel and participation by defense counsel

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19. As previously noted, Debtor agreed to a Case Management Order governing all
pretrial activities, an imperative step in the conduct of consolidated and complex litigation. See
David F. Herr, ANNOTATED MANUAL FOR COMPLEX LITIGATION, §33.22 (3d ed. 2000). Under
the MDL court’s supervision, and in accordance with that Case Management Order, discovery
has been pursued by all parties to the ZAI litigation in an efficient manner.

20. To date, such discovery has already included Rule 26 initial disclosures; notices of
both Rule 30(b)(6) depositions and depositions of corporate custodians of records; and
interrogatories and requests for production of documents promulgated by Plaintiffs and
responses thereto by W.R. Grace. Most recently, and with the cooperation of local Defense
counsel, Plaintiffs have devoted considerable resources to the review of documents at the W.R.
Grace repository of documents at Winthrop Square in Boston. Eighteen attorneys and paralegals
from eight firms have worked together in full cooperation over two and one half weeks to.
efficiently and expeditiously review over one hundred and thirty-five of the nearly four hundred
boxes from that repository and to tab relevant documents for reproduction from each box.

21. While the Plaintiffs’ firms have expended considerable time and effort on this
coordinated effort, the cost to W.R. Grace has been minimal, as the documents are alee
produced and stored in Boston. Nonetheless, even the minimal costs that will be incurred by

W.R. Grace should discovery proceed in the MDL do not, by themselves, justify a denial by this

Court of relief from the automatic stay. See In re: Continental Airlines, 152 B.R. at 425; In re:

Tricare, 181 B.R. at 575; In re: Todd Shipyards Corp., 92 B.R. 600, 603 (D. N.J. 1988).

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c. Creditors in this proceeding will suffer no prejudice and will
be treated equally if the stay is lifted to permit continued
discovery

22. Other Creditors will suffer no prejudice and will be treated equally if the

continued discovery proposed by the ZAI Plaintiffs occurs. In re: Continental Airlines, Inc., 152

B.R. at 424. With the oversight of this Court, the ZAI Plaintiffs can share any discovery yielding
non-privileged information relevant to the conduct of this bankruptcy case with other Creditors,
who will therefore have benefited from the time and expense incurred by the ZAI Plaintiffs in
conducting such discovery.
2 The balance of hardships tilts strongly in favor of the ZAI Plaintiffs
23. Absent continued discovery, the ZAI Plaintiffs are unable to understand the full
extent of W.R. Grace’s culpability and, by extension, to fully and adequately represent their

interests in this bankruptcy case. In re: Continental Airlines, 152 B.R. at 424. Furthermore,

absent continued discovery, at-risk homeowners who have not been noticed as to the presence of
dangerous materials in their residences may effectively be denied an opportunity to have their

claims presented to this Court for adjudication. See e.g. Bock Laundry Machine Co., 37 B.R. at

566.
24. In addition to alleviating these conditions, a grant of relief from stay to permit
continued discovery in the MDL court will permit the ZAI litigation to proceed to completion in

the MDL court, an outcome in accordance with the intent behind Chapter 11 reorganization. See

Bell, 215 B.R. at 275 citing In re: Parkinson, 102 B.R. 141 (C.D. II. 1988); In re: Tricare

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Rehabilitation Systems, Inc., 181 B.R. 569, 572 n. 7 (N.D. Ala. 1994) (“Congress intended that

the stay be lifted to allow proceedings to continue in forums other than the bankruptcy court
under appropriate circumstances...”); In re: Neal, 176 B.R. 30, 33 (D. Idaho 1994); In re:
Unanue-Casal, 159 B.R. 90, 95 (D.P.R. 1993) affirmed 23 F.3d 395 (Ist Cir. 1994) (litigation
pending three years sufficiently advanced such that judicial resources would be wasted by

beginning proceedings on the remaining issues in another court); In re Saunders, Bkrtcy, 103

B.R. 298 (N.D. Fla. 1989). The Neal and Tricare Rehabilitation Systems cases in particular are

representative of decisions permitting proceedings to continue in a forum other than a bankruptcy
court where considerable litigation efforts precede the bankruptcy.

20. In Neal, the parties had expended considerable efforts and resources in litigating
various state law claims. Recognizing that the parties would have to duplicate this litigation in
the bankruptcy court if the stay were not lifted, the Neal court, drawing upon the legislative
concerns for promoting judicial economy which underlie Section 362, granted relief from the
stay, stating as follows:

Although a more convenient forum is not one of the enumerated grounds for relief
from stay in section 362(d), the legislative history of the section suggests that such
a forum is cause under section 362(d)(1):
‘[I]t will often be more appropriate to permit proceedings to continue in
their place of origin, when no great prejudice to the bankruptcy estate
would result, in order to leave the parties fo their chosen forum and to
relieve the bankruptcy court from any duties that may by handled
elsewhere.’ In re Johnson, 153 B.R. 49, 51 (Bankr. D. Idaho 1993),

quoting S. Rep. No. 989, 95" Cong., 2d Sess. 50, reprinted in 1978
U.S.C.C.A.N. 5787, 5836.

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In re: Neal, 176 B.R. at 33 (emphasis added).

26. Similarly, in In re Tricare Rehabilitation Systems, Inc., the movant sought relief

from the automatic stay to proceed with a pending action where the parties had exchanged
witness lists and engaged in discovery for approximately two years prior to the filing of the
bankruptcy petition. Applying some of the considerations for lifting a stay that are set forth in In
re Johnson, 115 B.R. at 636 and In re Curtis, 40 B.R. at 799-800, the bankruptcy court lifted the

stay, citing the following pertinent factors:

Is significant [litigation] preparation ha[d] already occurred”( Tricare at 575);

2, “Both [parties] are firmly entrenched...and set for a fight.” (Id);

a “The...[non-bankruptcy court] judge is familiar with the allegations, parties, posit
4, “[P]rompt liquidation of [plaintiff's] claim [in the non-bankruptcy forum] will expe

In re Tricare Rehabilitation Systems, Inc., 181 B.R. at 575-578.

27. Here, the balance of hardships tilts strongly in favor of the ZAI Plaintiffs and in
favor of granting relief from the automatic stay so that discovery may proceed in MDL 1376. A
grant of relief from stay by this Court will result in no great prejudice to the bankruptcy estate,
but will permit the parties to conduct discovery in their chosen forum while relieving this Court
of duties that may be handled elsewhere, in the MDL. In re: Neal, 176 B.R. at 33. W.R. Grace
and other parties to the ZAT litigation have conducted extensive discovery, such as expert and
non-expert depositions, inspections of residences containing ZAI, and interrogatories and -

requests for admissions, such that significant litigation preparation has occurred and the Case

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Management Order has set a date for trial. Tricare at 575. Judge Saris is well-versed in the facts
at issue in the ZAI litigation, the allegations, the parties and their respective positions, and the
governing law. Id. Furthermore, continued discovery in the MDL can facilitate prompt
liquidation of the ZAI litigation outside of this bankruptcy case and will thereby conserve the

resources of the bankruptcy estate. Tricare at 578; see also In re: Hudgins Bkrtcy, 102 B.R. 495

(E.D. Va. 1989)(relief from stay appropriate where estimated claim is large and adjudication
outside of bankruptcy will promote the prompt and effective reorganization of debtor’s financial
affairs).
3. There is a high probability that discovery will be successfully completed if
the stay is lifted and judicial economy is served by permitting the MDL
court to oversee the remaining pretrial
Discovery in the ZAI litigation
28. A Case Management Order has entered in the MDL, and discovery has already
begun pursuant to that Order in an efficient and expeditious manner. There is every reason to
believe that discovery under the supervision of Judge Saris in the MDL court will be successfully
completed in accordance with the terms of the Case Management Order. There is certainly more

than the “slight possibility of success on the merits” that may support granting relief from stay.

See e.g. Continental Airlines, 152 B.R. at 426 citing In re: Rexene Products Co., 141 B.R. at 578;

In re: South Oakes Furniture, Inc., 167 B.R. at 310.

29. Furthermore, the interests of judicial economy will be served by permitting the

MDL court to continue its oversight of the ZAI litigation discovery pursuant to the terms of the

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Case Management Order. In re: Sonnax Industries, 907 F.2d at 1286; In re: Tricare

Rehabilitation Systems, Inc., 181 B.R. at 572 n.7. Judge Saris has already been briefed on

protective order issues, and has already engaged in active management of discovery amongst the
parties pursuant to the Case Management Order. By the terms of the Case Management Order,
discovery in the case is scheduled to be completed in less than one year from the filing of this
motion, with fact discovery ending on October 31, 2001 and expert discovery ending on January
5, 2002. Discovery can most efficiently and expeditiously be conducted if Judge Saris continues

to oversee the process. See e.g. In re: Bock Laundry Machine Co., 37 B.R. 564, 567-568 (N.D.

Ohio 1984)(relief from stay appropriate to permit pursuit of products liability actions in non-
bankruptcy forum because of the significant judicial economy achieved without adverse impact

on the estate or violation of the purpose of the automatic stay); In re: Fischer Bkrptcy, 202 B.R.

341, 355 (E.D.N.Y. 1996)(judicial economy served by lifting stay where litigation pending for
four years, substantial discovery had occurred, and numerous conferences and hearings had been
held).
IV. Request for Relief

30. Movants respectfully request that the Court grant this Motion for Relief from the

Automatic Stay, and such other and further relief as this Honorable Court deems just and proper.

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CERTIFICATE OF SERVICE

1, William D. Sullivan, hereby certify that on April 25, 2001, I did serve the foregoing:

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Under penalty of perjury, I declare that the foregoing is true and correct.

4 aso!

Date

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(Cc
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Case 01-01139-AMC

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